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  8                        UNITED STATES DISTRICT COURT
  9                     SOUTHERN DISTRICT OF CALIFORNIA
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 11 JOSEPH SAMO, individually and on              Case No. 3:17-cv-02414-WQH-BLM
    behalf of all others similarly situated,
 12                                               ORDER GRANTING JOINT
                  Plaintiff,                      MOTION FOR DISMISSAL OF
 13                                               DEFENDANT ACE PARKING
          v.                                      MANAGEMENT, INC., WITH
 14                                               PREJUDICE
    ACE PARKING MANAGEMENT,
 15 INC.,                                         The Hon. William Q. Hayes
 16               Defendant.
 17
 18         After full consideration of the Joint Motion for Dismissal, this Court finds as
 19 follows:
 20         Plaintiff and Defendant have shown good cause for this matter to be
 21 dismissed.
 22         IT IS THEREFORE ORDERED that this case is dismissed with prejudice.
 23 Dated: May 18, 2018
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                                                                 Case No. 3:17-cv-02414-WQH-BLM
